           Case 3:22-cv-00220-AGT Document 10 Filed 03/02/22 Page 1 of 2




1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
2    SML AVVOCATI P.C.
3
     888 Prospect Street, Suite 200
     San Diego, California 92037
4    (949) 636-1391 (Phone)
5
     Attorney(s) for Social Positioning Input Systems, LLC
6

7
                       IN THE UNITED STATES DISTRICT COURT
8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
9

10    SOCIAL POSITIONING INPUT
      SYSTEMS, LLC,                                  CASE NO.: 3:22-cv-00220-AGT
11
                           Plaintiff,
12
                                                     PLAINTIFF’S NOTICE OF
13    v.                                             VOLUNTARY DISMISSAL
                                                     WITHOUT PREJUDICE
14    LOCONAV, INC.,
15                         Defendant.
16

17

18           Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files
19   this Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
20   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
21   by the plaintiff without order of court by filing a notice of dismissal at any time before
22   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
23   dismisses this action against LocoNav, Inc. without prejudice, pursuant to Rule
24   41(a)(1)(A)(i) with each party to bear its own fees and costs.
25

26

27

28

                                                 1
                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
        Case 3:22-cv-00220-AGT Document 10 Filed 03/02/22 Page 2 of 2




1    Dated: March 2, 2022                   Respectfully submitted,
2
                                            /s/Stephen M. Lobbin
3                                           Stephen M. Lobbin
4
                                            sml@smlavvocati.com
                                            SML AVVOCATI P.C.
5                                           888 Prospect Street, Suite 200
6                                           San Diego, California 92037
                                            (949) 636-1391 (Phone)
7

8                                           Attorney(s) for Plaintiff

9                              CERTIFICATE OF SERVICE
10
            I hereby certify that on March 2, 2022, I electronically transmitted the foregoing
11   document using the CM/ECF system for filing, which will transmit the document
12   electronically to all registered participants as identified on the Notice of Electronic
     Filing, and paper copies have been served on those indicated as non-registered
13   participants.
14                                           /s/ Stephen M. Lobbin
                                             Stephen M. Lobbin
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               2
                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
